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                         Exhibit B

NIEHS/NTP statement on the NASEM peer-
               review of
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                                            February 9, 2021

                       NIEHS/NTP statement on the NASEM peer-review of
   Draft NTP Monograph on the Systematic Review of Fluoride Exposure and Neurodevelopment and
                                    Cognitive Health Effects.

The National Toxicology Program (NTP) analyzed more than 500 fluoride studies and produced the
September 2020 report titled Draft NTP Monograph on the Systematic Review of Fluoride Exposure and
Neurodevelopment and Cognitive Health Effects. NTP concluded that fluoride may be a hazard for brain
development and IQ in children, and fluoride was identified in the monograph as a “presumed” hazard.
Because there is tremendous public interest in fluoride’s benefits and potential risks, NTP asked the
National Academies of Sciences, Engineering, and Medicine (NASEM) to conduct an independent
evaluation of the draft monograph. The NASEM committee did not support the NTP conclusions and
determined that more clear and convincing evidence is needed.


Fluoride’s many benefits to oral health were not evaluated by NTP, and the draft monograph cannot be
used to determine whether public water fluoridation is safe. NTP only sought to assess whether fluoride
could present a potential health hazard at any exposure level, since people are now exposed to fluoride
from many sources such as dental hygiene products, food and beverages including black and green tea,
and community water supplies.

NTP thanks the NASEM committee for reviewing the draft monograph and providing insightful and
helpful input. We will carefully consider all of the committee’s comments as we finalize and publish the
NTP Fluoride Monograph as a “state of the science” document later in 2021.
